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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

DICKINSON BAY          AREA
                         BRANCH §
NAACP, et al.,                   §
                                 §
            Plaintiffs,          §
                                 §
    v.                           §               Civil Action No. 3:22-cv-117- JVB
                                 §
GALVESTON COUNTY, TEXAS, et al., §
                                 §
             Defendants.         §

                                          §
TERRY PETTEWAY, et al.,                   §
                                          §
                 Plaintiffs,              §
                                          §
       v.                                 §        Civil Action No. 3:22-cv-57-JVB
                                          §           [Lead Consolidated Case]
GALVESTON COUNTY, TEXAS, et al.           §
                                          §
                  Defendants.             §

                                          §
UNITED STATES OF AMERICA,                 §
                                          §
                  Plaintiff,              §
                                          §
       v.                                 §        Civil Action No. 3:22-cv-93-JVB
                                          §
GALVESTON COUNTY, TEXAS, et al.           §
                                          §
                  Defendants.             §


                   NAACP PLAINTIFFS’ OPPOSITION TO
                DEFENDANTS’ RENEWED MOTION TO STAY

      Defendants once again argue that this case should be stayed pending the U.S.

Supreme Court’s decision in Merrill v. Milligan, No. 21-1086 (U.S. Feb. 7, 2022) and
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Merrill v. Caster, No. 21-1087 (U.S. Feb. 7, 2022) (together, “Merrill”), even though this

Court already denied Defendants’ earlier stay motions in these consolidated matters, see

NAACP Stay Ord., No. 3:22-cv-117, Dkt. 36 (hereafter “NAACP Stay Ord.”); Petteway

Stay Ord., No. 3:22-cv-57, Dkt. 40; U.S. Stay Ord., No. 3:22-cv-93, Dkt. 28, which relied

on substantially the same grounds. See No. 3:22-cv-117, Dkt. 33; No. 3:22-cv-57, Dkt. 36;

No. 3:22-cv-93, Dkt. 27. Their motion should be denied for several reasons.

       First, Defendants’ motion lacks any procedural justification. They cite to no

procedural rule that would justify their “renewed” motion. Instead, Defendants either assert

arguments this Court already rejected or present new arguments that they should have

asserted in their prior motions. The Court should reject Defendants’ improper request for

a “do over” on these grounds alone.

       Second, the grounds for denying a stay remain unchanged since this Court rejected

Defendants’ arguments in May. A stay in this matter would risk irreparable harm to

Plaintiffs if they and their members are forced to vote in a second set of elections under a

constitutionally suspect map. By contrast, granting a stay would not alleviate any perceived

hardship or inequity for Defendants, especially given that the Supreme Court’s decision in

Merrill will have no bearing on Plaintiffs’ ability to pursue their intentional discrimination

and racial gerrymandering claims—a fact Defendants do not meaningfully dispute. And as

for the impact Defendants “speculate” Merrill may have in this matter (see NAACP Stay

Ord. at 1), it would be negligible given that the questions presented here are not at issue in

Merrill. Thus, a stay will not further judicial economy either. And in any event, this Court

has already observed (and Defendants have agreed, see Mot. at 4) it will be able to “adjust

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quickly to any changes in the law that may come from Merrill or any other case.” NAACP

Stay Ord. at 3. Defendants’ remaining arguments—which they failed to assert in their

initial stay motions—are otherwise unavailing.

       For these and the additional reasons set forth below, Defendants’ renewed motion

should be denied.

                                I.      LEGAL STANDARDS

       A. Motions for Reconsideration

       “As the Fifth Circuit has noted, the Federal Rules of Civil Procedure do not

recognize a ‘motion for reconsideration.’” Kaden v. Schleese Saddlery Serv., No. EP-17-

CV-00053-KC, 2017 U.S. Dist. LEXIS 218975, at *3 (W.D. Tex. Nov. 20, 2017) (citing

Shepherd v. Int’l Paper Co., 372 F.3d 326, 328 n.1 (5th Cir. 2004)). And while trial courts

retain the power under Rule 54(b) to revise interlocutory orders before entry of judgment,

       District courts in the Fifth Circuit have emphasized that the purpose of a
       motion to reconsider is not to re-debate the merits of a particular motion, or
       to advance legal theories that could have been presented earlier. Instead,
       these motions serve a narrow purpose: to permit a party to correct manifest
       errors of law or fact, or to present newly discovered evidence. Litigants are
       expected to present their strongest case when the matter is first considered.
       In fact, it is an improper use of a motion to reconsider to file it as merely a
       second attempt to sway the judge.

Id. at *3–4 (internal quotations, alterations, and citations omitted).

       B. Motions to Stay

       “[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). In


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determining whether to grant a stay, the court must consider “whether the proposed stay

would prejudice the non-moving party, whether the proponent of the stay would suffer a

hardship or inequity if forced to proceed and whether granting the stay would further the

interest of judicial economy.” Airgas, Inc. v. Cravath, Swaine & Moore LLP, No. 10-612,

2010 U.S. Dist. LEXIS 15120, at *7 (E.D. Pa. Feb. 22, 2010) (citing Landis, 299 U.S. at

254–55). The burden is on the movant, who “must make out a clear case of hardship or

inequity in being required to go forward, if there is even a fair possibility that the stay for

which he prays will work damage to some one else.” Landis, 299 U.S. at 255; see also

Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 545 (5th Cir. 1983).

                                     II. ARGUMENT

       This Court already rejected Defendants’ motion to stay once and should do so again.

       Defendants’ Renewed Motion is a thinly veiled motion for reconsideration, but one

that provides no legal basis for the request, asserts no error whatsoever in this Court’s prior

order, and identifies no changes in the legal or factual landscape that would merit

reconsideration. Instead, they refer to developments in a separate district court case that is

neither controlling nor persuasive in this matter, and that is easily distinguished by the

equitable considerations at play here. Defendants’ motion is merely an improper “second

attempt to sway the judge,” Kaden, 2017 U.S. Dist. LEXIS 218975, at *4 (internal

quotation omitted), and should be summarily dismissed as such.

       Even putting aside the impropriety of Defendants’ motion, it also fails in substance.

They provide no reasons to conclude that the balance of the equities, which this Court

properly determined weighed against a stay, has changed since May. Instead, Defendants

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raise three new prudential arguments, each of which is irrelevant and two of which were

waived when Defendants failed to raise them in their first stay request. Accordingly, even

if properly raised a second time, Defendants’ arguments fail on the merits as well.

       A. A Stay in This Matter Will Indisputably Prejudice Plaintiffs, While
          Defendants Have Failed to Substantiate Any Prejudice from Continuing to
          Litigate This Case.

       Defendants have once again failed to carry their burden of showing that the balance

of equities favors a stay. See Landis, 299 U.S. at 254–55.

       As this Court observed in May, granting a stay in this matter would “compress[] the

amount of time available to litigate this case” and “only make it more difficult for both the

court and the parties to ultimately achieve a just and lawful result.” NAACP Stay Ord. at 3.

This is because “any delay in reaching a final ruling in this case—and a stay would almost

certainly cause such a delay—could impair this court’s ability to issue effective relief

later,” id., given that, under the Purcell principle, “federal district courts ordinarily should

not enjoin state election laws in the period close to an election.” Merrill v. Milligan, 142

S. Ct. 879, 879 (2022) (Kavanaugh, J., concurring) (citing Purcell v. Gonzalez, 549 U.S. 1

(2006)).

       Since denying Defendants’ request for a stay in May, this Court issued a scheduling

order, Dkt. 66, that will allow for the resolution of this matter on the merits in time to

provide relief to Plaintiffs before (and without any disruption to) the 2024 elections.

Specifically, the June 2023 docket call will permit remedial redrawing and emergency

appeals to be resolved before December 11, 2023, the last date that candidates for the 2024



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general election may file for a place on the 2024 primary ballot.1

          Defendants’ request for a stay asks the Court to toss this schedule aside and hold

this matter in abeyance indefinitely. They do not meaningfully dispute in their Motion that

granting their request would risk extreme prejudice to Black and Latino Galvestonians,

including Plaintiffs and their members, who may be forced to elect their County

Commissioners under a constitutionally suspect map for yet another Commissioner

election cycle. See League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247

(4th Cir. 2014) (“[O]nce the election occurs, there can be no do-over and no redress. The

injury to these voters is real and completely irreparable if nothing is done to enjoin this

law.”).

          The only alternative to risking irreparable harm on Plaintiffs would be at the extreme

expense of judicial economy. If this case were stayed for up to eight months,2 it would be

either infeasible or require an exceptionally expedited schedule to have this matter fully

resolved on the merits, and allow for remedial redrawing and expedited appeals, before the

December 11, 2023, candidate-filing deadline. Accordingly, it will force Plaintiffs either

to be consigned to another election under challenged maps or to seek preliminary injunctive

relief before the 2024 elections cycle, requiring significant and compressed motions

practice and court proceedings at additional expense to the parties and great imposition on


1
  See TEX. ELEC. CODE § 172.023 (Regular Filing Period); Important Election Dates 2022–2024, Tex. Sec’y
of State, https://www.sos.state.tx.us/elections/voter/important-election-dates.shtml#2024 (last accessed
October 21, 2022).
2
   The Supreme Court typically releases Opinions for cases argued in October before the end of June the
following year, although they can be issued at “any time after argument.” See Clerk of the Court, Guide for
Counsel in Cases To Be Argued Before the Supreme Court of the United States (2021),
https://www.supremecourt.gov/casehand/Guide%20for%20Counsel%202021.pdf.
                                                    6
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the Court.

         By passing the Commissioners Court map on the eve of the 2022 candidate filing

deadline, Defendants rendered it infeasible for Plaintiffs to seek relief before the 2022

general election. Now they ask this Court once again to pave the way for another election

cycle under constitutionally suspect maps while this case is pending, even while they do

not dispute the irreparable harm this would risk to Plaintiffs.3 The Court should decline to

do so.

         What is more, in support of this request, Defendants have failed to show any reasons

(much less “hardship and inequity” to Defendants) that could justify it. As this Court has

already observed, Defendants’ request for a stay is premised on mere “speculat[ion]” that

the Supreme Court will alter the standard it announced in Thornburg v. Gingles, 478 U.S.

30 (1986). See NAACP Stay Ord. at 1. But the exchanges during oral argument in Merrill

on October 4, 2022 (as described below) indicate that this is unlikely and that the law

applicable to Plaintiffs’ specific claims here is unlikely to change. See infra at 11–12. Even

if that is not the case, the Court is well able to “adjust quickly to any changes in the law

that may come from Merrill or any other case,” and that remains true under the schedule

set forth by the Court. NAACP Stay Ord. at 3.

         Finally, Defendants have not and cannot explain what prejudice they would face in

timely litigating Plaintiffs’ intentional discrimination and racial gerrymandering claims,



3
  While a court may set aside primary election results if needed to remediate VRA and constitutional
violations, see Toney v. White, 488 F.2d 310, 315 (5th Cir. 1973), such a remedy would cause greater
confusion and inefficiency for Plaintiffs and other voters, candidates, administrators, and Defendants than
a remedy ordered prior to the December 2023 candidate filing deadline.
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which “will likely be unaffected by any outcome in Merrill.” Id. at 2. Their assertion that

the Court’s decision in Merrill may have “wide-ranging consequences for intentional

discrimination claims,” Mot. at 5, is just more speculation. This flawed argument also

ignores the well-established principle that consideration of VRA Section 2 claims is “an

intensely local appraisal.” Gingles, 478 U.S. at 79 (quotation omitted). And it assumes

without evidence that the Supreme Court would contravene its principled approach of

avoiding issuing broader holdings than necessary. See, e.g., Brnovich v. Democratic Nat’l

Comm., 141 S. Ct. 2321, 2336 (2021) (“[W]e decline in these cases to announce a test to

govern all VRA § 2 claims involving rules, like those at issue here, that specify the time,

place, or manner for casting ballots.”); NASA v. Nelson, 562 U.S. 134, 147 n.10 (2011)

(“We therefore decide the case before us and leave broader issues for another day.”).

       None of Defendants’ purported equitable justifications comes close to requiring the

risk of irreparable harm a stay would present to Plaintiffs. The equities thus clearly favor

denying a stay.

       B. Defendants’ New Arguments Do Not Support a Stay.

       In the face of the balance of the equities and the serious risk of prejudice to Plaintiffs

if a stay is granted, Defendants’ three new—and irrelevant—arguments must fail.

              1. Stays Granted in Unrelated State-wide Section 2 Cases Do Not Justify A
                 Stay in This Matter.

       Despite obvious dissimilarities with this case, Defendants cite to a recent stay order

in Nairne v. Ardoin, No. 3:22-cv-178 (M.D. La. 2022), a Section 2 challenge to Louisiana’s

state legislative maps, as a reason for this Court to revisit its decision. Nairne was stayed


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pending the Supreme Court’s decision in Merrill, because a related case challenging

Louisiana’s congressional map, Robinson v. Ardoin, No. 3:22-cv-211 (M.D. La. 2022), was

held in abeyance due to Merrill. See Nairne, No. 3:22-cv-178, 2022 U.S. Dist. LEXIS

155706, at *3–4 (M.D. La. Aug. 30, 2022) (together, with Robinson, the “Louisiana

Cases”). The holdings in these unrelated matters have no bearing on the balance of the

equities in this case. But even if they did, the equitable considerations present in the

Louisiana Cases are entirely distinct from those present here.

        First, the Louisiana Cases each involve just a single cause of action for Section 2

discriminatory results. See Robinson Compl. at ¶¶ 164–70, No. 3:22-cv-211, Dkt. 1 (M.D.

La. 2022)4; Nairne Compl. at 55–57 ¶¶ 1–11, No. 3:22-cv-178, Dkt. 1 (M.D. La. 2022).5

Neither case brings intentional discrimination or racial gerrymandering claims, as Plaintiffs

here.6 This is significant because Plaintiffs’ racial gerrymandering and intentional

discrimination claims under Section 2 and the Equal Protection clause require discovery

into Defendants’ redistricting process, communications on redistricting, alternative

precinct maps, and the history of discrimination in Galveston County, regardless of the

legal framework applicable to Plaintiffs’ Section 2 vote dilution claim. See Vill. of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266–67 (1977) (noting the


4
  Available at https://www.democracydocket.com/wp-content/uploads/2022/03/NAACP-MDLA.pdf (last
accessed Oct. 21, 2022).
5
  Available at https://www.aclu.org/sites/default/files/field_document/complaint_-_nairne_v._ardoin.pdf
(last accessed Oct. 21, 2022).
6
  Plaintiffs note that their VRA claim alleges both dilutive impact and discriminatory purpose that would
violate Section 2. See NAACP First Am. Compl. at ¶¶ 154–55, No. 3:22-cv-117, Dkt. 38; see also League
of United Latin Am. Citizens v. Abbott, No. CV 1:21-cv-1006, 2022 U.S. Dist. LEXIS 91761, at *41 (W.D.
Tex. May 23, 2022) (“[A] ‘showing of intent is sufficient to constitute a violation of section 2[.]’” (quoting
McMillan v. Escambia County, 748 F.2d 1037, 1046 (5th Cir. 1984))).
                                                      9
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“historical background of the decision” and the “specific sequence of events leading up to

the challenged decision” among relevant factors to intentional discrimination claims);

Miller v. Johnson, 515 U.S. 900, 910, 928 (1995) (affirming lower court finding that race

was a predominant factor in redistricting based on “much evidence of the legislature’s

purpose and intent in creating the final plan”) Accordingly, the reasons for staying

discovery in the single-count Louisiana Cases, where all discovery depends on the Section

2 dilution claims, are not applicable to this multi-count matter.

       Second, even putting aside the differences in claims asserted, the legal and factual

questions posed in Merrill and the Louisiana Cases do not apply to Galveston County and

Plaintiffs’ VRA claims. The central question in Merrill is “whether the VRA requires

Alabama to intentionally create a second majority-black congressional district.”

Appellants’ Br. at 28, Merrill v. Milligan, 2022 U.S. S. Ct. BRIEFS LEXIS 1361 (U.S.)

(emphasis added). Similarly, in Robinson and Nairne, the plaintiffs have argued that Black

Louisianans are sufficiently numerous and geographically compact to allow the State to

create one additional majority-Black congressional district and several additional state

senate and house districts. See Robinson Compl. at ¶ 167; Nairne Compl. at 55 ¶ 3. By

contrast, the question in this matter is whether the VRA and Constitution permit the County

to dismantle an existing majority-minority precinct with historic boundaries, for which the

well-worn Gingles preconditions are easily satisfied.

       These distinctions between the issues here and in Merrill were highlighted in the

recent oral argument of that case. The defendants-appellants in Merrill contend that (1) the

first Gingles precondition requires plaintiffs to proffer a demonstrative map that is

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reasonably configured without any consideration of race, see Tr. of Oral Argument 21:16–

22:18, and (2) that the district court incorrectly concluded that plaintiff-appellees’ proposed

additional majority-Black congressional district in Alabama was in fact sufficiently

compact and reasonably configured, see Tr. of Oral Argument 45:21–46:13. Neither

argument, even if adopted, would impact this case, because: (1) Plaintiffs in this matter

have already alleged that such a “race-neutral” Gingles I demonstrative district is possible

by shifting just one voting precinct from the existing core to rebalance population, see

NAACP First Am. Compl., Dkt. 38 at ¶ 65, and (2) the factual dispute about the Alabama

Congressional map’s configuration is irrelevant to the County Commissioner Precinct at

issue here.

       Indeed, rather than implicate the issues in Merrill, Plaintiffs’ claims in this matter

track much more closely with the longstanding precedent of League of United Latin

American Citizens (“LULAC”) v. Perry, 548 U.S. 399 (2006), which found a Section 2

violation based on the “dismantling” of an existing “compact opportunity district.” Id. at

431. And, as even the Merrill defendants-appellants themselves clarified at oral argument,

no opinion in Merrill is expected to displace the holding in LULAC. See Tr. of Oral

Argument, 41:19–24 (citing LULAC to argue that “breaking up an existing district is – is

inherently suspect. And so that would be a much stronger [Voting Rights Act] case.”).

       In fact, the Merrill defendants-appellants essentially conceded that a case such as

the one alleged by Plaintiffs here—where Galveston County’s nearly 50 percent minority

population will be foreclosed from electing the candidate of their choice in any

Commissioner precinct, see NAACP First Am. Compl., Dkt. 38 at ¶¶ 42–45, 63–64, 85—

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would be an “easy case to bring.” Tr. of Oral Argument at 42:3–19. When addressing a

hypothetical from Justice Elena Kagan in which “there are circumstances in which a

population that is 27 percent of the state’s population could essentially be foreclosed from

electing a candidate of their choice anywhere[,]” Merrill defendants replied:

       [I]f we had had these guidelines and we passed a map that took us from one
       down to zero, where we retained the cores of Districts 1 through 6 but not
       District 7, that would be an easy case. That would be LULAC all over again.
       It would be an easy case to bring.”

Id. As the oral argument in Merrill shows, parties are not even raising arguments that would

alter, much less foreclose, Plaintiffs’ Section 2 claims here.

       So even if the recent holdings in Nairne and Robinson were properly considered as

relevant here, which they are not, the reasoning behind these holdings has no bearing on

the considerations in this matter and thus would not support the stay requested by

Defendants.

              2. The Principle of Constitutional Avoidance Does Not Apply at The
                 Pleading Stage And, in The Alternative, Does Not Warrant A Stay.

       Defendants’ second new argument regarding the principle of constitutional

avoidance also fails to justify staying this case.

       First, Defendants failed to raise this argument in their first motion, and they give no

explanation for their failure to do so. As such, the argument should be deemed waived. See

generally, Lopez v. River Oaks Imaging & Diagnostic Grp., Inc., 542 F. Supp. 2d 653, 658

n.9 (S.D. Tex. 2008) (“The Fifth Circuit consistently holds that when a party does not

address an issue in his brief to the district court, that failure constitutes a waiver on appeal.

By analogy, failure to brief an argument in the district court waives that argument in that

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court.”) (internal citations omitted); see also Kaden, 2017 U.S. Dist. LEXIS 218975, at *4

(“[I]t is an improper use of a motion to reconsider to file it as merely a second attempt to

sway the judge.” (internal citation omitted)).

       Second, even if Defendants had properly lodged this argument in their first stay

motion, it is nonetheless irrelevant to the court’s decision of whether to grant a stay at the

pleading stage. Courts utilize constitutional avoidance as an ordering tool when

considering preliminary or final relief. See Ashwander v. Tenn. Valley Auth., 297 U.S. 288,

347 (1936) (Brandeis, J., concurring) (“The Court will not pass upon a constitutional

question although properly presented by the record, if there is also present some other

ground upon which the case may be disposed of.”). But constitutional avoidance does not

prevent the parties from “properly present[ing] . . . the record” on constitutional and non-

constitutional claims via timely discovery and briefing. Id. In the cases on which

Defendants rely, the courts applied constitutional avoidance when considering what relief

is proper after evidence and arguments, not when determining the scope of discovery

itself.7 In other words, the parties in these cases already had the opportunity to develop and

present an evidentiary record, and based on that record, the courts did not need to reach the

constitutional questions in order to grant plaintiffs their requested relief. See, e.g., Nw.

Austin Mun. Dist., 557 U.S. at 206. By contrast, this case remains at the pleading stage,



7
  See Renewed Mot. at 5–6 (citing Citizens United v. FEC, 558 U.S. 310, 322 (2010) (reviewing after
summary judgment); Nw. Austin Mun. Utility Dist. No. One v. Holder, 557 U.S. 193, 201, 211 (2009)
(reviewing after summary judgment); LULAC, 548 U.S. at 413 (reviewing after judgment); Gingles, 478
U.S. at 38 (reviewing after judgment); Singleton v. Merrill, 582 F. Supp. 3d 924, 936 (N.D. Ala. 2022)
(granting preliminary injunction); Singleton v. Merrill, No. 2:21-cv-1291, 2022 U.S. Dist. LEXIS 83367,
at *17 (N.D. Ala. Feb. 25, 2022) (postponing ruling on renewed preliminary injunction motion)).
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and the Court has not yet granted any relief or passed judgment on the validity of any

claims. Defendants do not cite to cases in which a stay was granted due to constitutional

avoidance on the pleadings alone.

       Furthermore, when addressing constitutional issues is necessary to support the

particular relief sought, constitutional avoidance does not apply. See Lyng v. Nw. Indian

Cemetery Protective Ass’n, 485 U.S. 439, 446–47 (1988) (declining to apply constitutional

avoidance where the First Amendment supplied a basis for a broader injunction than would

have been granted on statutory grounds alone). Here, Plaintiffs’ constitutional claims could

be grounds for granting bail-in preclearance, see 52 U.S.C. § 10302(c), which requires a

finding of a violation of the Fourteenth or Fifteenth Amendment and would not be available

through Section 2. See NAACP First Am. Compl., Dkt. 38 at 39 (seeking “any additional

or alternative relief to which Plaintiffs may be entitled”). Thus, even if this were an

appropriate stage to apply constitutional avoidance—which it is not—the Court would need

to consider Plaintiffs’ constitutional claims in adjudicating full relief.

              3. The Current Discovery Timeline Allows The Parties Enough Time to
                 Incorporate November 2022 Election Results into Their Analyses.

       Finally, Defendants offer a left-field argument that staying proceedings would be in

the interest of “time”, because it would allow the parties to analyze data from the November

2022 general election about how candidates perform under the challenged map. Mot. at 6–

7. As with their constitutional avoidance argument, they give no reason for their failure to

raise this point in their first motion, and so it, too, should be deemed waived.

       Accepting, arguendo, that the November 2022 election will provide additional


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useable data, Defendants also fail to explain how the current scheduling order prevents the

parties from incorporating November 2022 data, much less why staying all discovery

indefinitely would be an appropriate or even logical response to this consideration. Under

the adopted scheduling order, expert discovery is not set to conclude until April 21, 2023,

a full five months after the November 8, 2022, election. See Am. Docket Control Ord, Dkt.

66. This is more than enough time to analyze voting data and patterns from a single election

in a single county, and Defendants do not argue otherwise.

                                    III. CONCLUSION

       For the foregoing reasons, Plaintiffs request that the Court deny Defendants’

renewed motion to stay this case.

                                                 /s/ Sarah Xiyi Chen
                                                 TEXAS CIVIL RIGHTS PROJECT
                                                 Attorney-in-Charge
                                                 Mimi M.D. Marziani
                                                 Texas Bar No. 24091906
                                                 Hani Mirza
                                                 Texas Bar No. 24083512
                                                 Joaquin Gonzalez*
                                                 Texas Bar No. 24109935
                                                 Sarah Xiyi Chen*
                                                 California Bar No. 325327
                                                 1405 Montopolis Drive
                                                 Austin, TX 78741
                                                 512-474-5073 (Telephone)
                                                 512-474-0726 (Facsimile)
                                                 mimi@texascivilrightsproject.org
                                                 hani@texascivilrightsproject.org
                                                 joaquin@texascivilrightsproject.org
                                                 schen@texascivilrightsproject.org

                                                 SOUTHERN    COALITION                FOR
                                                 SOCIAL JUSTICE


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                                      Hilary Harris Klein*
                                      North Carolina Bar No. 53711
                                      1415 W. Hwy 54, Suite 101
                                      Durham, NC 27707
                                      919-323-3380 (Telephone)
                                      919-323-3942 (Facsimile)
                                      hilaryhklein@scsj.org


                                      WILLKIE FARR & GALLAGHER
                                      LLP
                                      Richard Mancino*
                                      New York Bar No. 1852797
                                      Michelle Anne Polizzano*
                                      New York Bar No. 5650668
                                      Andrew J. Silberstein*
                                      New York Bar No. 5877998
                                      Molly Linda Zhu*
                                      New York Bar No. 5909353
                                      Kathryn Carr Garrett*
                                      New York Bar No. 5923909
                                      787 Seventh Avenue
                                      New York, New York 10019
                                      212-728-8000 (Telephone)
                                      212-728-8111 (Facsimile)
                                      rmancino@willkie.com
                                      mpolizzano@willkie.com
                                      asilberstein@willkie.com
                                      mzhu@willkie.com
                                      kgarrett@willkie.com

                                      JoAnna Suriani*
                                      DC Bar No. 1645212
                                      Diana C. Vall-llobera*
                                      DC Bar No. 1672102
                                      1875 K Street, N.W.
                                      Washington, DC 20006-1238
                                      (202) 303-1000 (Telephone)
                                      (202) 303-2000 (Facsimile)
                                      jsuriani@willkie.com
                                      dvall-llobera@willkie.com



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                                      SPENCER & ASSOCIATES, PLLC
                                      Nickolas Spencer
                                      Texas Bar No. 24102529
                                      9100 Southwest Freeway, Suite 122
                                      Houston, TX 77074
                                      713-863-1409 (Telephone)
                                      nas@naslegal.com


                                      COUNSEL FOR PLAINTIFFS
                                      *admitted pro hac vice




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                            CERTICATE OF SERVICE

      I HEREBY CERTIFY that on October 21, 2022, the foregoing document was filed

electronically (via CM/ECF), and that all counsel of record were served by CM/ECF.

                                                             /s Sarah Xiyi Chen




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